  Case 1:22-cv-02622-RBJ-STV Document 15 Filed 12/20/22 USDC Colorado Page 1 of 4




                         S KADDEN , A RPS , S LATE , M EAGHER & F LOM                         LLP
                                          1440 NEW YORK AVENUE, N.W.
                                                                                                       FIRM/AFFILIATE OFFICES
                                         WASHINGTON, D.C. 20005-2111                                           -----------
                                                            ________                                          BOSTON
                                                                                                             CHICAGO
                                                    TEL: (202) 371-7000                                      HOUSTON
                                                    FAX: (202) 393-5760                                    LOS ANGELES
                                                                                                             NEW YORK
                                                      www.skadden.com                                       PALO ALTO
  DIRECT DIAL                                                                                               WILMINGTON
                                                                                                               -----------
(202) 371-7020                                                                                                BEIJING
  EMAIL ADDRESS
                                                                                                            BRUSSELS
RAJ.MADAN@SKADDEN.COM                                                                                      FRANKFURT
                                                                                                           HONG KONG
                                                                                                             LONDON
                                                                                                              MUNICH
                                                                                                               PARIS
                                                                       December 20, 2022                   SÃO PAULO
                                                                                                              SEOUL
                                                                                                            SHANGHAI
                                                                                                           SINGAPORE
                                                                                                               TOKYO
                                                                                                             TORONTO




                  VIA ECF

                  Senior Judge R. Brooke Jackson
                  U.S. District Court, District of Colorado
                  Alfred A. Arraj United States Courthouse
                  Room A938
                  901 19th Street
                  Denver, CO 80294

                                         RE:     Motion to Dismiss in United States v. Liberty Global,
                                                 Inc., Case No. 1:22-cv-02622-RBJ

                  Dear Judge Jackson:

                         Pursuant to the Court’s Practice Guidelines, Defendant Liberty Global, Inc.

                  (“LGI”) submits this letter describing the motion to dismiss it intends to file in the

                  above-captioned case. As discussed below, the Plaintiff (the “Government”) has

                  failed to state a claim upon which relief can be granted and the case should be

                  dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.




                                                              1
Case 1:22-cv-02622-RBJ-STV Document 15 Filed 12/20/22 USDC Colorado Page 2 of 4




              The Government filed its case pursuant to 26 U.S.C. § 7401, which creates a

       “civil action for the collection or recovery of taxes.” Complaint ¶ 1; 26 U.S.C. §

       7401. However, the Government has failed to comply with prerequisites for bringing

       such action, which are mandatory under the Internal Revenue Code. Specifically,

       Congress has mandated that no “proceeding in court for [the] collection [of any

       federal income tax] shall be made, begun, or prosecuted until [a notice of deficiency]

       has been mailed to the taxpayer.” 26 U.S.C. § 6213(a) (emphasis added).

              No such notice was ever mailed to LGI and the Government does not dispute

       it. That is fatal to the Government’s claim. As the Tenth Circuit has held, “[t]he

       issuance of a notice of deficiency is a prerequisite to any action by the IRS to ‘assess,

       collect, or reduce to judgment most income tax liabilities.’” Hance v. Commissioner,

       215 F.3d 1336, at *1 (10th Cir. 2000) (table) (citation omitted). See also Singleton v.

       United States, 128 F.3d 833 (4th Cir. 1997) (holding that assessment and collection

       of a deficiency is invalid without a notice of deficiency); Tomlinson v. United States,

       977 F.2d 591 (9th Cir. 1992) (holding same).

              “The notice of deficiency is critical.” Williamson v. United States, 84 F.

       Supp. 2d 1217, 1220 (D.N.M. 1999), aff’d, 215 F.3d 1338 (10th Cir. 2000). It serves

       a distinct and unambiguous purpose: “to give the taxpayer notice that the

       Commissioner means to assess a deficiency tax against him and to give him an

       opportunity to have such ruling reviewed by the Tax Court.” Commissioner v.

       Stewart, 186 F.2d 239, 241 (6th Cir. 1951). Upon the mailing of this notice, 26

       U.S.C. § 6213(a) grants taxpayers a 90-day period to petition the Tax Court for a

       redetermination, during which the Government is statutorily barred from pursuing


                                                  2
Case 1:22-cv-02622-RBJ-STV Document 15 Filed 12/20/22 USDC Colorado Page 3 of 4




       any collection actions. See, e.g., Hallmark Rsch. Collective v. Commissioner, 159

       T.C. No. 6, at 22 (2022). Here, by filing this complaint without having issued a

       notice of deficiency, the Government has violated the established statutory

       framework for the collection of tax liabilities and denied LGI its statutory right to

       challenge this deficiency in the Tax Court.

              Moreover, any attempt to restart the collection process by issuing a notice of

       deficiency at this point would be time-barred. The Government had a three-year

       period in which to complete an assessment for LGI’s 2018 tax year pursuant to 26

       U.S.C. § 6501(a). This period ended on or before October 15, 2022. As the

       Government’s own Internal Revenue Manual explains, “the IRS is [now] prohibited

       from taking action . . . the errors cannot be corrected in order to issue a new notice of

       deficiency and no assessment can be made.” I.R.M. 4.8.9.22.4(3) (June 19, 2015);

       see also Philadelphia & Reading Corp. v. United States, 944 F.2d 1063, 1073 (3d

       Cir. 1991) (holding that an assessment that precedes a notice of deficiency is

       “forever void and illegal” and an attempt to rectify that void assessment after the

       close of the statute of limitations would be barred) (citation omitted).

                                              Respectfully,

                                              /s/ Rajiv Madan
                                              Rajiv Madan
                                              Skadden, Arps, Slate, Meagher & Flom LLP
                                              1440 New York Avenue, N.W.
                                              Washington, DC 20005
                                              Telephone: (202) 371-7020
                                              E-mail: raj.madan@skadden.com
                                              Attorney for Defendant Liberty Global, Inc.




                                                   3
Case 1:22-cv-02622-RBJ-STV Document 15 Filed 12/20/22 USDC Colorado Page 4 of 4




                                    CERTIFICATE OF SERVICE


            I hereby certify that on December 20, 2022, I served a copy of the foregoing document by

  filing it with the Court’s CM/ECF system, which will send an electronic copy to all counsel of

  record.



                                                /s/ Rajiv Madan
                                                Rajiv Madan
                                                Skadden, Arps, Slate, Meagher & Flom LLP
                                                1440 New York Avenue, N.W.
                                                Washington, DC 20005
                                                Telephone: (202) 371-7020
                                                E-mail: raj.madan@skadden.com
                                                Attorney for Defendant Liberty Global, Inc.
